
PER CURIAM.
We have for review Rubio v. State, 706 So.2d 957 (Fla. 3d DCA 1998), which is a per curiam decision citing only to Peart v. State, 705 So.2d 1059 (Fla. 3d DCA 1998). We have jurisdiction. See art. V, § 3(b)(3), Fla. Const.; Jollie v. State, 405 So.2d 418, 420 (Fla.1981).
This Court- recently held in Peart v. State, 756 So.2d 42 (Fla.2000), that a petition for writ of error coram nobis was the proper vehicle for raising a claim that a noncustodial defendant was not advised of the immigration consequences of a plea. We emphasize that all such claims filed subsequent to our decision in Wood v. State, 750 So.2d 592 (Fla.1999), must be filed pursuant to a motion under Florida Rule of Criminal Procedure 3.850. See Peart, 756 So.2d at 45. Rubio is quashed as being inconsistent with our decision in Peart.
It is so ordered.
SHAW, ANSTEAD, PARIENTE and LEWIS, JJ., concur.
HARDING, C.J., and WELLS and QUINCE, JJ., dissent.
